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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

 FLORIDA GAS TRANSMISSION                             CIVIL ACTION NO.: 3:24-cv-00122-
 COMPANY, LLC                                         BAJ-RLB


 V.                                                   JUDGE: BRIAN A. JACKSON

 8.22 ACRES, MORE OR LESS,
                                                      MAGISTRATE JUDGE: RICHARD L.
 SITUATED IN IBERVILLE PARISH,
                                                      BOURGEOIS, JR.
 LOUISIANA, MURRELL FAMILY
 L.L.C, AND FOREST HOME
 PLANTATION, L.L.C



                               NOTICE OF CONDEMNATION

TO:

       Forest Home Plantation, LLC
       c/o George Murrell
       9018 Jefferson Hwy., Ste. A
       Baton Rouge, LA 70809

       Murrell Family, LLC
       9018 Jefferson Hwy.
       Baton Rouge, LA 70809

                                                 1.

       A complaint for condemnation has been filed in the United States District Court for the

Middle District of Louisiana to take property for use for the continued safe operation of Florida

Gas’ existing 14-inch pipeline. The interests to be taken are: (1) a perpetual, exclusive servitude

for the construction, maintenance, operation, and use of a pipeline surface site facility; and (2) a

perpetual, non-exclusive servitude for the construction, maintenance, operation, and use of an

access road to the area encumbered by the proposed Surface Site Servitude. The court is located

at the Russel B. Long Federal Building and United States Courthouse at 777 Florida St., Ste. 139,

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Baton Rouge, Louisiana 70801.

                                                   2.

       The property to be taken is located on the following tracts described herein as:


                                             Property 1
Legal Description:
That certain tract or parcel of land, containing 1,452 acres, more or less, being a portion of the
Forest Home Plantation, situated and composed of Sections 69, 70, 71, Lots 2, 3, and 4 of Section
96, and all of Section 91, Township 10 South, Range 12 East, Iberville Parish, Louisiana;
AND
That certain tract of land, containing 969.91 acres, more or less, being a portion of the Forest Home
Plantation, being composed of Sections 72, 73, 74, and the south 100 acres of Section 75, Lot 1 of
Section 96, Township 10 South, Range 12 East, and Section 2, Township 11 South, Range 12 East,
Iberville Parish, Louisiana, being further described in that Act of Exchange by Louise Allen
Armstrong, et al to Forest Home Partnership, recorded at Cb383/Entry144, and filed on 3/31/1985
in the records of Iberville Parish, Louisiana.
                                             Property 2
Legal Description:
That certain tract or parcel of land, situated in the Parish of Iberville, State of Louisiana, known as
Augusta Plantation, being composed of Sections 57, 58, 59, 60, 61, 62, 63, 64, 65, 66, 67, 68, 85,
90, and Sections 76, 77, 80, 81, 103, and the norther portion of Section 75, all in Township 10
South, Range 12 East, being further described in that Exchange of Properties by George Michael
Murrell, Jr., et al, to Murrell Plantations Company, recorded at Cb452/Entry203, and filed on
6/19/1992 in the records of Iberville Parish, Louisiana.
                                                  3.

       The authority for taking this property is the Natural Gas Act, 15 U.S.C. § 717 et seq. and

specifically, 15 U.S.C. § 717f(h).

                                                  4.

       If you want to object or present any defense to the taking you must serve an answer on the

Plaintiff’s attorney within 21 days after being served with this notice or from the date of the last

publication of this notice. Send your answer to this address:


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         Matthew Simone
         c/o Liskow & Lewis
         450 Laurel Street, Ste. 1601
         Baton Rouge, Louisiana 70801
         Telephone: 225-341-4660
         Facsimile: 225-341-5653

                                                 5.

         Your answer must identify the property in which you claim an interest, state the nature and

extent of that interest, and state all your objections and defenses to the taking. Objections and

defenses not presented are waived.

                                                 6.

         If you fail to answer, you consent to the taking, and the court will enter a judgment that

takes your described property interest.

                                                 7.

         Instead of answering, you may serve on the Plaintiff’s attorney a notice of appearance that

designates the property in which you claim an interest. After you do that, you will receive a notice

of any proceedings that affect you. Whether or not you have previously appeared or answered, you

may present evidence at a trial to determine compensation for the property and share in the overall

award.




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                                            Respectfully submitted,


                                            /s/ Matthew D. Simone________
                                            Cheryl M. Kornick (Bar #19652)
                                            Matthew D. Simone (Bar# 32690)
                                            Zachary D. Berryman (Bar# 40278)
                                            LISKOW & LEWIS
                                            701 Poydras Street, Suite 5000
                                            New Orleans, Louisiana 70139
                                            Telephone: 504-581-7979
                                            Facsimile: 504-556-4108
                                            Email: cmkornick@liskow.com
                                                    mdsimone@liskow.com
                                                    zberryman@liskow.com

                                            Attorneys for Florida Gas Transmission Company,
                                            LLC



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing motion has been served upon

all counsel of record below by e-filing notice, by placing same in United Sates mail, properly

addressed and postage prepaid, and/or by electronic mail this 22nd day of February, 2024.

                                            /s/ Matthew D. Simone




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